                                 UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TENNESSEE
                                         AT KNOXVILLE

   UNITED STATES OF AMERICA                          )
                                                     )       No. 3:16-CR-20
   v.                                                )
                                                     )       Judge Collier
   SCOTT WOMBOLD                                     )

                                               ORDER

          Before the Court is a November 2, 2020, motion by Defendant Scott Wombold to modify

   the terms of his release to allow him “to travel withing the contiguous United States without

   restriction or monitoring” following the reversal of his conviction by the Court of Appeals for the

   Sixth Circuit. (Doc. 957.) Defendant also asks for the return, with interest, of his fine and special

   assessment payments. (Id.)

          The United States (the “Government”) responded on November 16, 2020, representing that

   it could not take a position as to the return of Defendant’s fine payment until after it determined

   whether to seek en banc rehearing of the appellate decision. (Doc. 958.) The Government

   ultimately sought a panel rehearing, and on December 30, 2020, the Court of Appeals denied the

   Government’s petition for panel rehearing. (Doc. 979.) The mandate issued on January 7, 2021.

   (Doc. 982.)

          Given the recent decision by the Court of Appeals, the Government shall SUPPLEMENT

   its response (Doc. 958) to Defendant’s motion within seven days of the issuance of this Order.

          SO ORDERED.

          ENTER:

                                                         /s/____________________________
                                                         CURTIS L. COLLIER
                                                         UNITED STATES DISTRICT JUDGE




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